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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON
UNITED STATES OF AMERICA,                     *

                       Plaintiff(s),          *       Case No. 3:13-cr-72(1)

       - vs -                                 *      District Judge Thomas M. Rose
                                                     Magistrate Judge Michael R. Merz
TYLER J. CHRISTIAN,                           *

                       Defendant(s).          *


                ORDER ADOPTING REPORT AND RECOMMENDATIONS


       The Court has reviewed the Report and Recommendations of United States Magistrate

Judge Michael R. Merz (Doc. #41), to whom this case was referred pursuant to 28 U.S.C. ' 636(b)

and Fed. R. Crim. P. 59, and noting that no objections have been filed thereto and that the time for

filing such objections under Fed. R. Civ. P. 59(b )(2) has expired, hereby ADOPTS said Report

and Recommendations.

       It is therefore ORDERED that the Plea Agreement herein and Defendant's plea of guilty

pursuant to that agreement are accepted.


October 16, 2013                                     *s THOMAS M. ROSE
                                                              Thomas M. Rose
                                                         United States District Judge
